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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     In re:                                                §   Chapter 11
                                                           §
     ASCENT GROUP, LLC                                     §   Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                          §
                                                           §
                          Debtor.                          §


        DECLARATION OF MATTHEW J. PYEATT IN SUPPORT OF BALLOT
       SUMMARY FOR THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF
    LIQUIDATION FOR ASCENT GROUP, LLC D/B/A PHYSICIANS ER – OAK LAWN

          1.        My name is Matthew J. Pyeatt. I am over the age of twenty-one and competent in

all respects to make this Declaration. I am an attorney with the law firm of Gardere Wynne

Sewell LLP (“Gardere”), which maintains offices in Dallas, Texas at 2021 McKinney Avenue,

Suite 1600, Dallas, TX 75201. I am a member in good standing of the Bar of the State of Texas,

and am admitted to practice in the United States District Courts and the United States

Bankruptcy Courts for all Districts of Texas.                  Unless otherwise stated, I have personal

knowledge of all facts set forth in this Declaration and they are true and correct to the best of my

knowledge.

          2.        I submit this Declaration in accordance with Rule 3018-1 of the Local Bankruptcy

Rules of the United States Bankruptcy Court for the Northern District of Texas (the “Local

Bankruptcy Rules”) with respect to the solicitation of votes and the tabulation of ballots (the

“Ballots”) cast on the Second Amended Joint Chapter 11 Plan of Liquidation for Ascent Group,

LLC d/b/a Physicians ER – Oak Lawn1 [Docket No. 209] (as may be amended, supplemented

1
 The solicited version of the Plan submitted to holders of claims and interests is the First Amended Joint Chapter 11
Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER – Oak Lawn [Docket No. 184]. The Second
Amended Plan was filed on October 9, 2017 and contains non-material modifications to the First Amended Plan that
was solicited to parties.
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and modified, the “Plan”), which is jointly proposed by Ascent Group, LLC, the debtor and

debtor-in-possession (the “Debtor”) in the above-referenced case (the “Chapter 11 Case”) and

Highland Park Emergency Center LLC d/b/a Highland Park Emergency Room (“HPEC”) and

Omega Emergency Physicians, PLLC (“Omega,” and, collectively with HPEC, “Highland

Park” and, collectively with the Debtor, the “Proponents”). Except as otherwise noted, all facts

set forth herein are based on my personal knowledge, knowledge that I acquired from individuals

under my supervision, and my review of relevant documents. I am authorized to submit this

Declaration on behalf of Gardere, as chapter 11 counsel for the Debtor. If I were called to

testify, I could and would testify competently as to the facts set forth herein.

          3.        Pursuant to the Court’s Order Granting Motion for Entry of Order (a) Approving

Proposed Disclosure Statement in Support of the Joint Chapter 11 Plan of Liquidation for Ascent

Group, LLC d/b/a Physicians ER Oak Lawn, (b) Scheduling a Hearing to Consider Confirmation

of the Joint Plan of Liquidation, (c) Establishing Voting and Objection Deadlines, and (d)

Approving Balloting, Solicitation, Notice, and Voting Procedures [Docket No. 189] (the

“Disclosure Statement Order”), the Debtor was appointed to serve as the party responsible for

soliciting all solicitation materials specified in the Disclosure Statement Order to holders of

claims and interests under the Plan, receiving completed ballots, determining and tabulating

votes on the Plan, and determining whether each particular class of claims or interests under the

Plan has accepted or rejected the Plan. As chapter 11 counsel to the Debtor, Gardere assumed all

responsibilities in connection with the solicitation and tabulation of votes on the Plan.

          4.        Pursuant to the Disclosure Statement Order, the Court established procedures to

solicit votes from and tabulate ballots submitted by holders entitled to vote on the Plan (the

“Solicitation Procedures”). Gardere adhered to the Solicitation Procedures as set forth in the


DECLARATION OF MATTHEW J. PYEATT IN SUPPORT OF BALLOT SUMMARY FOR THE SECOND AMENDED JOINT
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Disclosure Statement Order and outlined in the ballots distributed to parties entitled to vote on

the Plan. Gardere distributed the solicitation materials to applicable holders of claims and

interests in accordance with the Disclosure Statement Order, as reflected in the Certificates of

Service filed on the Bankruptcy Court Docket at Docket Nos. 192 and 204. In accordance with

Local Bankruptcy Rule 3018-1 and the Disclosure Statement Order, I am the individual who was

responsible for receiving, reviewing, and tabulating the Ballots submitted by holders voting on

the Plan.

          5.        Under the Plan, only holders of claims against and equity interests in the Debtor

in the following classes were permitted to cast Ballots accepting or rejecting the Plan: Class 1.A

(Regions Bank); Class 2 (General Unsecured Claims); and Class 3 (Unsecured Claims of

Highland Park and iCare Medical Group, LLC). While Class 4 (Subordinated Claims) was

entitled to vote on the Plan, the Proponents were not aware of any claimants in such Class, and

no solicitation materials were distributed with respect to Class 4. No other classes were entitled

to vote on the Plan.

          6.        In accordance with the Solicitation Procedures, Gardere received, reviewed,

determined the validity of, and tabulated the Ballots submitted by holders entitled to vote on the

Plan. Each Ballot submitted to Gardere was date-stamped, scanned, and entered into Gardere’s

database in accordance with the Solicitation Procedures.

          7.        A summary of the final tabulation (the “Tabulation Summary”) of votes cast by

holders submitting ballots on the Plan in accordance with the Solicitation Procedures is attached

hereto as Exhibit A. As is evidenced by the information provided in the Tabulation Summary,

impaired Classes 2 and 3 under the Plan voted to accept the Plan in accordance with 11 U.S.C. §

1126(c).


DECLARATION OF MATTHEW J. PYEATT IN SUPPORT OF BALLOT SUMMARY FOR THE SECOND AMENDED JOINT
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          8.        The final tabulation of votes cast by holders submitting ballots on the Plan in

accordance with the Solicitation Procedures is attached hereto as Exhibit B.

          9.        The following Ballots were excluded from the final tabulation prepared by

Gardere:

                    a.     Class 2 Ballot of Dr. Rahim Govani (Ballot No. 4). Dr. Govani voted to
                           accept the Plan, in the ballot amount of $751.08. Dr. Govani’s claim was
                           scheduled by the Debtor in the unsecured amount of $751.08. Dr. Govani
                           may be considered an “insider” of the Debtor pursuant to 11 U.S.C.
                           §101(31). Pursuant to 11 U.S.C. § 1129(a)(10), whether or not an
                           impaired class of claims has accepted a plan is determined without
                           including any acceptance of the plan by any insider. Therefore, Dr.
                           Govani’s Class 2 Ballot has not been included in the final tabulation.

                    b.     Class 5 Ballot of Salima Thobani (Ballot No. 5). Ms. Thobani holds a
                           Class 5 Interest in the Debtor. Holders of Class 5 Interests were sent
                           Ballots to provide an opportunity to opt out of certain release language
                           contained in the Plan, but were not entitled to vote on the Plan because
                           they are deemed to reject the Plan.

                    c.     Class 2 Ballot of Asset Management Associates, LLC (Ballot Nos. 10
                           and 11. Asset Management Associates, LLC (the “Landlord”) submitted
                           a Class 2 Ballot (Ballot No. 11) in the amount of $29,821.30 voting to
                           reject the Plan. The Debtor did not schedule a general unsecured claim for
                           the Landlord. Furthermore, the Landlord did not submit a proof of claim
                           for the amount listed in the ballot. The Landlord’s Ballot No. 11 is subject
                           to Paragraph 14(b) of the Disclosure Statement Order, and is provisionally
                           disallowed for voting purposes. Furthermore, the Landlord submitted a
                           separate ballot (Ballot No. 10) opting out the release language contained in
                           Article XIV of the Plan. The Landlord is the only party that submitted a
                           Ballot electing to opt out of the release provisions in the Plan.

          10.       A copy of all Ballots received by Gardere in connection with the Plan is attached

hereto as Exhibit C. Gardere did not receive any Ballots other than those contained in Exhibit

C.

                                        [Signature Page Follows]




DECLARATION OF MATTHEW J. PYEATT IN SUPPORT OF BALLOT SUMMARY FOR THE SECOND AMENDED JOINT
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                                Exhibit A

                        Tabulation Summary
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Class     Description           Total #       Total Amount              Total - (Y)/(N)           Total Amount (Y)(N)     Class            Percentage                    Percentage
                                                                    (YES)             (NO)       (YES)           (NO)     Vote    Number Accept Amount Accept   Number Reject Amount Reject
 1A         Regions               0           $           -           0                 0    $          -   $         -     0        0.00%            0.00%        0.00%            0.00%
 1B       Secured Tax
 1C      Other Secured
  2     General Unsecured         4           $      9,059.58         4               0      $      9,059.58   $      -   YES       100.00%        100.00%         0.00%          0.00%
  3      HPEC & iCare             3           $ 21,421,432.20         3               0      $ 21,421,432.20   $      -   YES       100.00%        100.00%         0.00%          0.00%
  4       Subordinated
  5         Interests




                                                  Class 2           Class 3
                             Total Number            4                3
                             Total Amount     $      9,059.58   $ 21,421,432.20
                               Total Yes             4                3
                               Total No              0                0
                              Amount Yes      $      9,059.58   $ 21,421,432.20
                              Amount No       $           -     $           -
                             Number Yes %          100               100
                             Amount Yes %          100               100
                            Number Reject %          0                0
                            Amount Reject %          0                0
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                                  Exhibit B

                            Ballot Tabulation
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  Tab                      Name                         Class                                                Claim*                                                        Vote Amount          Vote                       Notes
                                                                        Ballot Amount        Claim Amount        Scheduled Amount              ct ord     Sec 502(c)
    1     TXU Energy Retail Company LLC                   2         $             2,639.34 $          2,639.34 $            2,677.85                                         $2,639.34         Accept                   Para. 14(c)
    2     Allied Pharmacy Services                        2         $             1,829.74          -           $             714.64                                          $714.64          Accept                   Para. 14(a)
    3     Decode Digital Marketing, LLC                   2         $            11,411.20          -           $          5,705.60                                          $5,705.60         Accept                   Para 14(a)
    4     Rahim Govani                                    2         $               751.00          -           $            751.08                                             $0.00          Accept              Possible 1129(a)(10)
    5     Salima Thobani                                  5                    -                    -                    -                                                        -              -
    6     C&C Clinical Laboratory                         2         $               909.00 $            909.00 $            1,159.00                                          $909.00          Accept                   Para. 14(c)
    7     Omega Emergency Physicians, PLLC                3         $       10,000,000.00 $      10,000,000.00 $                   -                                       $10,000,000.00      Accept                   Para. 14(d)
          Highland Park Emergency Center, LLC
    8                                                     3         $      10,000,000.00     $     10,000,000.00     $                   -                                 $10,000,000.00      Accept                   Para. 14(d)
          d/b/a Highland Park ER
    9     iCare Medical Group, LLC                        3         $        1,421,432.20              -            $        1,421,432.20                                  $1,421,432.20       Accept                   Para. 14(a)
   10     Asset Management Associates, LLC                -                    -                       -                       -                  -            -                 -               -                    Opt-Out Ballot
   11     Asset Management Associates, LLC                2         $            29,821.30             -                       -                                               $0.00           Reject      Provisionally disallowed - Para. 14(b)


*None of the information contained herein is a representation or admission regarding the validity, allowance, or amount of any claim or ballot amount identified herein.
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                               Exhibit C

                                Ballots
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                           INSTRUCTIONS FOR COMPLETING THE BALLOT
                  FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
 as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
 a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:




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 Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                            in Item 1 above hereby votes to:

 Check one box:                                        Er to Accept the Plan.
                                                            OR
                                                       DI to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following. Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5      Release by a Holder of a Claim

           (a)       As of the Effective Date. except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan. the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case. the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments. damages, demands, debts, rights. Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertible on behalf of the Debtor or
 the Estate, whether liquidated or unliuuidated. fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, eauity, or otherwise that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to. any
 Claim or Interest that is treated in this Plan. the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                       El Opt Out of the Release in Sections 12.4 of the Plan

 Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
 certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
 other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
 in other accounts or other record names, then such Ballots indicate the same vote to accept or
 reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

          Print or Type Name of Claimant:            15(           e                iI o
          Last Four (4) Digits of Social Security
          or Federal Tax I.D. No. of Claimant:           :5(a         cs
          Signature:                                YaMA GtVent\zimm
          Name of Signatory (if different than Claimant): V- aCeN 11\1 hen niier
          If by Authorized Agent, Title of Agent:         i'v\a_roter
          Street Address:                                           (isocP
          City, State, and Zip Code:                      bcki(cts Tx 5 u C-031)
                                                            -



           Telephone Number:                                    qTA - </S       - 5311(t-

           E-mail Address:                                  V 1,0..rr   0.6   the        rIner 9 4-ktk•OcAtU
           Date Completed:




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                           INSTRUCTIONS FOR COMPLETING THE BALLOT
                                                                                                      0
                  FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
 as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
 a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                           ❑ Opt Out of the Release in Sections 12.4 of the Plan

 Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
 certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
 other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
 in other accounts or other record names, then such Ballots indicate the same vote to accept or
 reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

           Print or Type Name of Claimant:             C411%0 OW olwr7                       e/i/t
           Last Four (4) Digits of Social Security
           or Federal Tax I.D. No. of Claimant:

           Signature:

           Name of Signatory (if different than Claim

           If by Authorized Agent, Title of Agent:

           Street Address:                                      SP(      SW( /1444, ()/-          iti

           City, State, and Zip Code:                              1J         -(<7)-             76//
           Telephone Number:                                      ri

           E-mail Address:                                       A lig         e S&Cie 104(
           Date Completed:                                             /Si/ 7




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Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                           in Item 1 above hereby votes to:
Check one box:                                             to Accept the Plan.
                                                           OR
                                                      ❑ to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.    Satisfaction of Claims
         (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5     Release by a Holder of a Claim

           (a)      As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration.
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent. matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity. or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 No person has been authorized to give any information or advice, or to make any representation,
 other than what is included in the Disclosure Statement and other materials accompanying this
 Ballot.8

 PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE To REJECT THE PLAN, YOU MUST STILL
 READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

       In re:                                                    Chapter 11

      ASCENT GROUP, LLC                                          Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn

                           Debtor.

                     BALLOT FOR VOTING TO ACCEPT OR REJECT
               CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

                               CLASS 2 GENERAL UNSECURED CLAIMS

 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in voting on the Plan.
 In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
 Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
 Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
 Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
 "Disclosure Statement"). The Disclosure Statement provides information to assist you in
 deciding how to vote your Ballot. A copy of the Disclosure Statement has been provided to you
 along with this Ballot. If you do not have a copy of the Disclosure Statement, you may obtain a
 copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
 McKinney Ave., Suite 1600, Dallas, Texas 75201, mpyeatt@gardere.com. Please note that the
 Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
 Court's approval or disapproval of the Plan.




 8 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                      §   Chapter 11
                                                 §
     ASCENT GROUP, LLC                           §   Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                §
                                                 §
                           Debtor.               §


                       CLASS 2 GENERAL UNSECURED CLAIMS
                      BALLOT FOR ACCEPTING OR REJECTING
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC




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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 2 — General Unsecured Claim under the Plan.

  General Unsecured Claims against the Debtor have been placed in Class 2 under the
  Plan. If you hold Claims in more than one Class under the Plan, you may receive a Ballot
  for each such other Class and must complete a separate Ballot for each such Class.

       BALLOTING DEADLINE: OCTOBER 3 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                            (THE "BALLOTING DEADLINE").
  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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    How TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

 1. COMPLETE ITEM 1.
 2.     COMPLETE ITEM 2.
 3.     REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
        WHETHER TO OPT OUT OF THE RELEASES.
        REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
        SIGN THE BALLOT.
        RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
        YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
        BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
        YOUR VOTE. ANY EXECUTED BALLOT RECEIVED THAT PARTIALLY ACCEPTS
        AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
        ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
        AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
        ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
        ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                           INSTRUCTIONS FOR COMPLETING THE BALLOT
                  FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f         provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
 as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
 a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:

                                        $   //3 4#IL 2,0




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                           El Opt Out of the Release in Sections 12.4 of the Plan

 Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
 certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
 other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
 in other accounts or other record names, then such Ballots indicate the same vote to accept or
 reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

           Print or Type Name of Claimant:                               -c)        (112.,   ry) &led\4-eat - 1.14
           Last Four (4) Digits of Social Security
           or Federal Tax I.D. No. of Claimant:                   a C6 -7-
           Signature:

           Name of Signatory (if different than Claimant):

           If by Authorized Agent, Title of Agent:
                                                           MIL14(f_AA___ PeKt
                                                                k ,s_Al .0_,.e.,,o-
                                                                CEO A
                                                                                         c
                                                                               C,c),,,eleri,
                                                                                               e`-- 1al


           Street Address:                                      3915 ktovvirzost.             Mu).3 54 2-ib
           City, State, and Zip Code:                           -tfe,744)/Q 754 77606
           Telephone Number:                                     7/3'     go7 -3gg 1
           E-mail Address:                                       karkil-tewo 64ex_ix14,arsTA-di. co
           Date Completed:




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Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                           in Item 1 above hereby votes to:
Check one box:                                              to Accept the Plan.
                                                           OR
                                                      ❑ to Reject the Plan.
Item 3. Important Information regarding Releases.

Section 14.2 of the Plan contains the following Release provisions:
 14.2.    Satisfaction of Claims
         (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5     Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights. Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part. the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                     § Chapter 11
                                                 §
      ASCENT GROUP, LLC                          § Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn               §
                                                 §
                           Debtor.               §


                       CLASS 2 GENERAL UNSECURED CLAIMS
                      BALLOT FOR ACCEPTING OR REJECTING
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC




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No person has been authorized to give any information or advice, or to make any representation,
other than what is included in the Disclosure Statement and other materials accompanying this
Ballot.8

PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE To REJECT THE PLAN, YOU MUST STILL
READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                §    Chapter 11
                                                           §
     ASCENT GROUP, LLC                                     §    Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                          §
                                                           §
                           Debtor.                         §

                    BALLOT FOR VOTING TO ACCEPT OR REJECT
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

                               CLASS 2 GENERAL UNSECURED CLAIMS

Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
in voting on the Plan.
In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
"Disclosure Statement"). The Disclosure Statement provides information to assist you in
deciding how to vote your Ballot. A copy of the Disclosure Statement has been provided to you
along with this Ballot. If you do not have a copy of the Disclosure Statement, you may obtain a
copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
McKinney Ave., Suite 1600, Dallas, Texas 75201, mpyeatt@gardere.com. Please note that the
Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
Court's approval or disapproval of the Plan.




 8 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 2 — General Unsecured Claim under the Plan.

  General Unsecured Claims against the Debtor have been placed in Class 2 under the
  Plan. If you hold Claims in more than one Class under the Plan, you may receive a Ballot
  for each such other Class and must complete a separate Ballot for each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                           (THE "BALLOTING DEADLINE").
  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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    HOW TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

1. COMPLETE ITEM 1.
 2.     COMPLETE ITEM 2.
 3.     REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
        WHETHER TO OPT OUT OF THE RELEASES.
 4.     REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
  5.    SIGN THE BALLOT.
 6.     RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
  7.    YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
        BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
        YOUR VOTE. ANY EXECUTED BALLOT RECEIVED THAT PARTIALLY ACCEPTS
        AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
  8. ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
     AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
     ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
  9.    ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                            INSTRUCTIONS FOR COMPLETING THE BALLOT
                   FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

PLEASE COMPLETE THE FOLLOWING:

Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:




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  Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                             in Item 1 above hereby votes to:
  Check one box:                                       27 to Accept the Plan.
                                                            OR
                                                       El   to Reject the Plan.
  Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.      Satisfaction of Claims
           (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5      Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                       0 Opt Out of the Release in Sections 12.4 of the Plan

 Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
 certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
 other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
 in other accounts or other record names, then such Ballots indicate the same vote to accept or
 reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.
                                                             ‘ty101
                                                                '     66.
          Print or Type Name of Claimant:

          Last Four (4) Digits of Social Security
          or Federal Tax I.D. No. of Claimant:                6'?65
           Signature:

          Name of Signatory (if different than Claimant):

          If by Authorized Agent, Title of Agent:

           Street Address:                                     6?Y5 All-ci Vii4
           City, State, and Zip Code:                            4tlicto   f e (of   k445;
          Telephone Number:                                    310-9V1-111,
           E-mail Address:                                      RS'Go v/iivi&        6 mnit.com
           Date Completed:                                             /2-5//-7


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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

       In re:                                    §   Chapter 11
                                                 §
      ASCENT GROUP, LLC                          §   Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn               §
                                                 §
                           Debtor.               §


                  CLASS 5 — INTERESTS IN THE DEBTOR
   BALLOT FOR CONSENTING TO OR OPTING OUT OF THIRD-PARTY RELEASES




                                         [See next page]




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No person has been authorized to give any information or advice, or to make any representation,
other than what is included in the Disclosure Statement and other materials accompanying this
Ballot."

PLEASE NOTE THAT, EVEN IF YOU INTEND To VOTE TO REJECT THE PLAN, YOU MUST STILL
READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                                § Chapter 11
                                                            §
     ASCENT GROUP, LLC                                      § Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                           §
                                                            §
                           Debtor.                          §

                 CLASS 5 — INTERESTS IN THE DEBTOR
  BALLOT FOR CONSENTING TO OR OPTING OUT OF THIRD-PARTY RELEASES

 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. You are deemed to reject the Plan, and are not
 entitled to vote on the Plan on account of your Class 5 Equity Interest. This Ballot has been
 provided to you for your use in consenting to or opting out of certain Releases in the Plan,
 described below.
 On August 28, 2017, the United States Bankruptcy Court for the Northern District of Texas (the
 "Bankruptcy Court") entered an order (the "Disclosure Statement Order") approving the
 Disclosure Statement in Support of the First Amended Joint Chapter 11 Plan of Liquidation for
 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Disclosure Statement"). The
 Disclosure Statement provides information to assist you in completing this Ballot. If you do not
 have a copy of the Disclosure Statement, you may obtain a copy from counsel for the Debtor:
 Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021 McKinney Ave., Suite 1600, Dallas,
 Texas 75201, mpyeatt@gardere.com. Please note that the Bankruptcy Court's approval of the
 Disclosure Statement does not constitute the Bankruptcy Court's approval or disapproval of the
 Plan.




 11 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                          IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Administrative Claim under the Plan.

  If you hold Claims in more than one Class under the Plan, you may receive a Ballot for
  each such other Class and must complete a separate Ballot for each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                                (THE "BALLOTING DEADLINE").

  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                  Gardere Wynne Sewell LLP
                                2021 McKinney Ave., Suite 1600
                                      Dallas, Texas 75201
                                   Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

  Sections 14.2 and 14.5 of the Plan contains release provisions, including third-party
  releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
  including these provisions will (with limited exception) be binding on all holders of a
  Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
  such holder is Impaired under the Plan and whether such holder has accepted the Plan,
  unless the holder of such Claim or Interest opts out of the Releases in accordance with
  the instructions on this Ballot.

  Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
  The Debtor reserves all rights to dispute such Claim(s).




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                               INSTRUCTIONS FOR COMPLETING THE BALLOT
                           FOR HOLDERS OF CLASS 5 — INTERESTS IN THE DEBTOR

 10.      PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
          COMPLETING THIS BALLOT.

 11.      Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
          received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
          (prevailing Central Time), the Balloting Deadline, unless such time is extended in
          writing by the Debtor. Ballots must be delivered either by first class mail with the
          enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
          Tabulation Agent at the following address:

                                      Gardere Wynne Sewell LLP
                                    2021 McKinney Ave., Suite 1600
                                         Dallas, Texas 75201
                                       Attn: Matthew J. Pyeatt

    Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                          transmission.

 12.      To properly complete the Ballot, you must follow the procedures described below:

          a.        if you choose to opt out of the releases contained in Sections 14.2 and 14.5 of the
                    Plan, check the box in Item 2.
          b.        if you are completing this Ballot on behalf of another person or entity, indicate
                    your relationship with such person or entity and the capacity in which you are
                    signing and submit satisfactory evidence of your authority to so act (e.g., a power
                    of attorney or a certified copy of board resolutions authorizing you to so act);
          c.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                    different Class of Claims and you should separately complete and submit a Ballot
                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          d.         if you believe that you have received the wrong Ballot, please contact the
                     Debtor's counsel immediately;
          e.        provide your name and mailing address on your Ballot;
          f         sign and date your Ballot and provide the remaining information requested; and
          g.         return your Ballot using the enclosed pre-addressed return envelope, by hand
                     delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
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 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 5 Interest in the Debtor. The undersigned hereby certifies that, as of
 the Record Date, the undersigned was the holder (or authorized signatory of such holder) of a
 Claim in the aggregate amount provided below.


                                   Amount of Class 5 Interest:

                                   $




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 Item 2. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.    Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5     Release by a Holder of a Claim

           (a)      As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan. the Confirmation Order, and the Plan Documents. for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages. demands. debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or urunatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity. or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to. or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan. or any act or omission.
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act. willful misconduct, or gross negligence.

 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.


 The undersigned holder of the Class 5 Interest set forth in Item 1 elects to:

                       ❑ Opt Out of the Release in Sections 12.4 of the Plan




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  Item 4. Certification as to Class 5 Interest. The undersigned hereby certifies that either (i) it
  has not submitted any other Ballots for other Class 5 Interests held in other accounts or other
  record names, or (ii) if it has submitted Ballots for other such Claims held in other accounts or
  other record names, then such Ballots indicate the same vote to accept or reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

           Print or Type Name of Claimant:                       ooct -Thoban
           Last Four (4) Digits of Social Security
           or Federal Tax I.D. No. of Claimant:

           Signature:                                                    )1tT2)-60.4(u)
           Name of Signatory (if different than Claimant):

           If by Authorized Agent, Title of Agent:

           Street Address:                                                AL/ /1    1/1/dI
           City, State, and Zip Code:                        n      4/0 f Vgifiej G             °I027 5
           Telephone Number:

           E-mail Address:                                                          6/0,p-st,coPi

           Date Completed:                                        '7 /2-e/7

 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




 EXHIBIT B
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                           INSTRUCTIONS FOR COMPLETING THE BALLOT
                  FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
 as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
 a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:

                                        $ P-Wrizz2D40 9. 61-o




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 Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                            in Item 1 above hereby votes to:

 Check one box:                                     )g:( to Accept the Plan.
                                                            OR
                                                       ❑ to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the fol I owinsz Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5      Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims. obligations. suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever. including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to. or in any manner arising from, in
 whole or in part, the Debtor. the Case, the subject matter of or the transactions or events giving rise or related to. any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Nan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
RELEASE.
The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                       ❑ Opt Out of the Release in Sections 12.4 of the Plan

Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
in other accounts or other record names, then such Ballots indicate the same vote to accept or
reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

          Print or Type Name of Claimant:         c4                N:tLJ kalobiethitki
          Last Four (4) Digits of Social Security                    541-h-,pci t
          or Federal Tax I.D. No. of Claimant:    13)c D1

          Signature:                                Gy1)-
                                                       474--v4
          Name of Signatory (if different than Claimant):

          If by Authorized Agent, Title of Agent:

          Street Address:                                   I Et   D      rk LA
          City, State, and Zip Code:                         4) J ULt 7)( 5.-bcPT
          Telephone Number:                                        (R199 co

          E-mail Address:                                                    a_za      &NW 2x4", CO/V1

          Date Completed:




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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                    § Chapter 11
                                                §
      ASCENT GROUP, LLC                         § Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn              §
                                                §
                          Debtor.               §


              CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
                       BALLOT FOR ACCEPTING OR REJECTING
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC




                                        [See next pagel




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 No person has been authorized to give any information or advice, or to make any representation,
 other than what is included in the Disclosure Statement and other materials accompanying this
 Ballot.9

 PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE TO REJECT THE PLAN, YOU MUST STILL
 READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                               §    Chapter 11
                                                           §
     ASCENT GROUP, LLC                                     §    Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                          §
                                                           §
                           Debtor.                         §

                     BALLOT FOR VOTING TO ACCEPT OR REJECT
               CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

             CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in voting on the Plan.
 In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
 Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
 Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
 Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
 "Disclosure Statement"). The Disclosure Statement provides information to assist you in
 deciding how to vote your Ballot. A copy of the Disclosure Statement has been provided to you
 along with this Ballot. If you do not have a copy of the Disclosure Statement, you may obtain a
 copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
 McKinney Ave., Suite 1600, Dallas, Texas 75201, mpyeatt@gardere.com. Please note that the
 Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
 Court's approval or disapproval of the Plan.




 9 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 3 — Unsecured Claims of Highland Park and iCare under the
  Plan.

  The unsecured claims of Highland Park and iCare against the Debtor have been placed
  in Class 3 under the Plan. If you hold Claims in more than one Class under the Plan, you
  may receive a Ballot for each such other Class and must complete a separate Ballot for
  each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL 1114E)
                           (THE "BALLOTING DEADLINE").

 For your vote to be counted, this Ballot must be properly completed, signed, and
 returned so that it is actually received by Debtor's counsel no later than the Balloting
 Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
 your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

 BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
 ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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   How TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

 1. COMPLETE ITEM 1.
 2.    COMPLETE ITEM 2.
 3.    REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
       WHETHER TO OPT OUT OF THE RELEASES.
 4.     REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
 5.     SIGN THE BALLOT.

 6.     RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
 7.    YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
       BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
       YOUR VOTE. ANY EXECUTED BALLOT RECEIVED THAT PARTIALLY ACCEPTS
       AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
 8.     ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
        AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
        ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
  9.    ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                      INSTRUCTIONS FOR COMPLETING THE BALLOT
   FOR HOLDERS OF CLAIMS IN CLASS 3 —UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 3 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 3 that actually vote on the
           Plan. In the event that Class 3 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 3 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 3, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATTRGARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 3 Unsecured Claim. The undersigned hereby certifies that, as of the
 Record Date, the undersigned was the holder (or authorized signatory of such holder) of a Class
 3 Claim in the aggregate amount provided below.


                                        Amount of Class 3 Claim:

                                        $ boa), vdo 0,)




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 Item 2. Vote on the Plan. The undersigned holder of a Class 3 Claim in the amount identified
                            in Item 1 above hereby votes to:
 Check one box:                                       .to Accept the Plan.
                                                            OR
                                                       ❑ to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 MS        Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims. obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured. known or unknown
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise. that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving_rise or related to, any
 Claim or Interest that is treated in this Plan. the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.


 The undersigned holder of the Class 3 Claim set forth in Item 1 elects to:

                       ❑ Opt Out of the Release in Sections 14.2 and 14.5 of the Plan

 Item 4. Certification as to Class 3 Unsecured Claims The undersigned hereby certifies that
 either (i) it has not submitted any other Ballots for other Class 3 Claims held in other accounts or
 other record names, or (ii) if it has submitted Ballots for other such Claims held in other accounts
 or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

          Print or Type Name of Claimant:           DWI e)c_. fOrti/Dc                     t C (0-vt_5
          Last Four (4) Digits of Social Security
          or Federal Tax I.D. No. of Claimant:

          Signature:

          Name of Signatory (if different than Claimant):

          If by Authorized Agent, Title of Agent:

           Street Address:

          City, State, and Zip Code:

          Telephone Number:

           E-mail Address:

           Date Completed:




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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                     § Chapter 11

      ASCENT GROUP, LLC                          § Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn

                           Debtor.


              CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
                       BALLOT FOR ACCEPTING OR REJECTING
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP., LLC




                                         [See next page]




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 No person has been authorized to give any information or advice, or to make any representation,
 other than what is included in the Disclosure Statement and other materials accompanying this
 Ballot.9

 PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE TO REJECT THE PLAN, YOU MUST STILL
 READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                § Chapter 11
                                                           §
     ASCENT GROUP, LLC                                     § Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                          §
                                                           §
                           Debtor.                         §

                    BALLOT FOR VOTING TO ACCEPT OR REJECT
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

              CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in voting on the Plan.
 In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
 Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
 Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
 Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
 "Disclosure Statement"). The Disclosure Statement provides information to assist you in
 deciding how to vote your Ballot. A copy of the Disclosure Statement has been provided to you
 along with this Ballot. If you do not have a copy of the Disclosure Statement, you may obtain a
 copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
 McKinney Ave., Suite 1600, Dallas, Texas 75201, mpyeattgardere.com. Please note that the
 Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
 Court's approval or disapproval of the Plan.




 9 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 3 — Unsecured Claims of Highland Park and iCare under the
  Plan.

  The unsecured claims of Highland Park and iCare against the Debtor have been placed
  in Class 3 under the Plan. If you hold Claims in more than one Class under the Plan, you
  may receive a Ballot for each such other Class and must complete a separate Ballot for
  each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                               (THE "BALLOTING DEADLINE").

  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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    How TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

 1. COMPLETE ITEM 1.
  2.    COMPLETE ITEM 2.
  3.    REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
        WHETHER TO OPT OUT OF THE RELEASES.
  4.    REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
  5.    SIGN THE BALLOT.
  6.    RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
  7. YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
     BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
     YOUR VOTE. ANY EXECUTED BALLOT RECEWED THAT PARTIALLY ACCEPTS
     AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
  8. ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
     AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
     ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
  9.    ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                      INSTRUCTIONS FOR COMPLETING THE BALLOT
   FOR HOLDERS OF CLAIMS IN CLASS 3 —UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 3 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 3 that actually vote on the
           Plan. In the event that Class 3 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 3 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 3, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                     for each Class of Claims in which you hold Claims. Your vote will be counted in
                     determining acceptance or rejection of the Plan by each particular Class of Claims
                     only if you complete, sign, and return the Ballot labeled for that Class of Claims
                     in accordance with the instructions on such Ballot;
           e.        if you believe that you have received the wrong Ballot, please contact the
                     Debtor's counsel immediately;
           f.        provide your name and mailing address on your Ballot;
           g.        sign and date your Ballot and provide the remaining information requested; and
           h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                     delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 3 Unsecured Claim. The undersigned hereby certifies that, as of the
 Record Date, the undersigned was the holder (or authorized signatory of such holder) of a Class
 3 Claim in the aggregate amount provided below.


                                         Amount of Class 3 Claim:

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 Item 2. Vote on the Plan. The undersigned holder of a Class 3 Claim in the amount identified
                            in Item 1 above hereby votes to:
 Check one box:                                              to Accept the Plan.
                                                            OR
                                                       ❑ to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5     Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed. and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, iudgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from, in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan. the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan. the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.


 The undersigned holder of the Class 3 Claim set forth in Item 1 elects to:

                       ❑ Opt Out of the Release in Sections 14.2 and 14.5 of the Plan

 Item 4. Certification as to Class 3 Unsecured Claims The undersigned hereby certifies that
 either (i) it has not submitted any other Ballots for other Class 3 Claims held in other accounts or
 other record names, or (ii) if it has submitted Ballots for other such Claims held in other accounts
 or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

           Print or Type Name of Claimant:                                  k_ o    4 ,7
                                                                            ov rt51: 1,,,,
           Last Four (4) Digits of Social Security
           or Federal Tax I.D. No. of Claimant:

           Signature:

           Name of Signatory (if different than Claimant):

           If by Authorized Agent, Title of Agent:
                                                                                  irt cc)14
           Street Address:                                    1    (                      -"Sae cizoc_D
           City, State, and Zip Code:

           Telephone Number:                                   2(4. cov-
           E-mail Address:                                      a..K.0,41,14„,p4-i7 opkA.
           Date Completed:                                         (6/y 7      /1-




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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                        Chapter 11

      ASCENT GROUP, LLC                             Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn

                           Debtor.


              CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
                       BALLOT FOR ACCEPTING OR REJECTING
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC




                                         [See next pagel




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 No person has been authorized to give any information or advice, or to make any representation,
 other than what is included in the Disclosure Statement and other materials accompanying this
 Ballot.9

 PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE TO REJECT THE PLAN, You MUST STILL
 READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                                    Chapter 11

     ASCENT GROUP, LLC                                          Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn

                           Debtor.

                     BALLOT FOR VOTING TO ACCEPT OR REJECT
               CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

              CLASS 3 UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE
 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in voting on the Plan.
 In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
 Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
 Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
 Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
 "Disclosure Statement"). The Disclosure Statement provides information to assist you in
 deciding how to vote your Ballot. A copy of the Disclosure Statement has_ been provided to you
 along with this Ballot. If you do not-have a copy of the Disclosure Statement, you may obtain a
 copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
 McKinney Ave., Suite 1600, Dallas, Texas 75201, mpveatt(d,gardere.com. Please note that the
 Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
 Court's approval or disapproval of the Plan.




 9
   All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 3 — Unsecured Claims of Highland Park and iCare under the
  Plan.

  The unsecured claims of Highland Park and iCare against the Debtor have been placed
  in Class 3 under the Plan. If you hold Claims in more than one Class under the Plan, you
  may receive a Ballot for each such other Class and must complete a separate Ballot for
  each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                            (THE "BALLOTING DEADLINE").
  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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    HOW TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

 1. COMPLETE ITEM 1.
 2.     COMPLETE ITEM 2.
 3.     REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
        WHETHER TO OPT OUT OF THE RELEASES.
 4.     REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
 5.     SIGN THE BALLOT.
 6.     RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
 7.     YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
        BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
        YOUR VOTE. ANY EXECUTED BALLOT RECEIVED THAT PARTIALLY ACCEPTS
        AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
 8.     ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
        AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
        ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
  9.    ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                      INSTRUCTIONS FOR COMPLETING THE BALLOT
   FOR HOLDERS OF CLAIMS IN CLASS 3 —UNSECURED CLAIMS OF HIGHLAND PARK AND ICARE

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 3 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 3 that actually vote on the
           Plan. In the event that Class 3 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 3 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 3, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 3 Unsecured Claim. The undersigned hereby certifies that, as of the
 Record Date, the undersigned was the holder (or authorized signatory of such holder) of a Class
 3 Claim in the aggregate amount provided below.


                                        Amount of Class 3 Claim:

                                            I 114               2-f




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 Item 2. Vote on the Plan. The undersigned holder of a Class 3 Claim in the amount identified
                            in Item 1 above hereby votes to:
 Check one box:                                              to Accept the Plan.
                                                            OR
                                                        ❑ to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.     Satisfaction of Claims
          (a)        The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5     Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to, or in any manner arising from in
 whole or in part, the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.


 The undersigned holder of the Class 3 Claim set forth in Item 1 elects to:

                       El Opt Out of the Release in Sections 14.2 and 14.5 of the Plan

 Item 4. Certification as to Class 3 Unsecured Claims The undersigned hereby certifies that
 either (i) it has not submitted any other Ballots for other Class 3 Claims held in other accounts or
 other record names, or (ii) if it has submitted Ballots for other such Claims held in other accounts
 or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

          Print or Type Name of Claimant:              27,4v2.&
          Last Four (4) Digits of Social Security          5acsd. -553
          or Federal Tax I.D. No. of Claimant:

          Signature:

          Name of Signatory (if different than Claimant):      CCje—

          If by Authorized Agent, Title of Agent:

          Street Address:                                                 /2— 64-,,e1L/      75-7
          City, State, and Zip Code:                                             v/ _    4/'2-7
          Telephone Number:

          E-mail Address:

          Date Completed:                                           7-- 2- Sr


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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                    § Chapter 11
                                                §
      ASCENT GROUP, LLC                         § Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn              §
                                                §
                           Debtor.              §


   BALLOT FOR CONSENTING TO OR OPTING OUT OF THIRD-PARTY RELEASES




                                         [See nextpagel




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No person has been authorized to give any information or advice, or to make any representation,
other than what is included in the Disclosure Statement and other materials accompanying this
Ballot.'2



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                 § Chapter 11
                                                            §
     ASCENT GROUP, LLC                                      § Case No.: 16-34436
     d/b/a Physicians ER Oak Lawn                           §
                                                            §
                           Debtor.                          §

  BALLOT FOR CONSENTING TO OR OPTING OUT OF THIRD-PARTY RELEASES

 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in consenting to or opting out of certain releases in the Plan, described below.
 On August 28, 2017, the United States Bankruptcy Court for the Northern District of Texas (the
 "Bankruptcy Court") entered an order (the "Disclosure Statement Order") approving the
 Disclosure Statement in Support of the First Amended Joint Chapter 11 Plan of Liquidation for
 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Disclosure Statement"). The
 Disclosure Statement provides information to assist you in completing this Ballot. If you do not
 have a copy of the Disclosure Statement, you may obtain a copy from counsel for the Debtor:
 Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021 McKinney Ave., Suite 1600, Dallas,
 Texas 75201, mpyeatt@gardere.com. Please note that the Bankruptcy Court's approval of the
 Disclosure Statement does not constitute the Bankruptcy Court's approval or disapproval of the
 Plan.




 12 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your claim, if any, under the Plan.

  If you hold claims in more than one Class under the Plan, you may receive a Ballot for
  each such other Class and must complete a separate Ballot for each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                           (THE "BALLOTING DEADLINE").
  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

  BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
  ELECTRONIC MEANS OF TRANSMISSION.

  If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
  such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s), if any, has been or will be
 allowed. The Debtor reserves all rights to dispute such Claim(s).




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                              INSTRUCTIONS FOR COMPLETING THE BALLOT


 13.      PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
          COMPLETING THIS BALLOT.

 14.      Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
          received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
          (prevailing Central Time), the Balloting Deadline, unless such time is extended in
          writing by the Debtor. Ballots must be delivered either by first class mail with the
          enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
          Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

    Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                          transmission.

 15.      To properly complete the Ballot, you must follow the procedures described below:

          a.        if you choose to opt out of the releases contained in Sections 14.2 and 14.5 of the
                    Plan, check the box in Item 2.
          b.        if you are completing this Ballot on behalf of another person or entity, indicate
                    your relationship with such person or entity and the capacity in which you are
                    signing and submit satisfactory evidence of your authority to so act (e.g., a power
                    of attorney or a certified copy of board resolutions authorizing you to so act);
          c.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          d.        provide your name and mailing address on your Ballot;
           e.        sign and date your Ballot and provide the remaining information requested; and
           f.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                     delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.




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 Item 1. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Releaseprovisions:
 14.5      Release by a Holder of a Claim

           (a)      As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate. whether liquidated or unliquidated, fixed or contingent,. matured or =natured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to_or in any manner arising from, in
 whole or in part. the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case, the Disclosure
 Statement, this Plan, the Plan Documents. and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this PIan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.

 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Administrative Claim set forth in Item 1 elects to:

                       E(Opt Out of the Release in Sections 14.2 and 14.5 of the Plan

 Item 2. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set

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 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; and (iii) it has full power and authority to vote to accept or reject the Plan and exercise
 elections with respect thereto.

          Print or Type Name of Claimant:           AS sa4 /IA a           ay4e.e04-- Ssocies, Lt.{-
          Last Four (4) Digits of Social Security
          or Federal Tax I.D. No. of Claimant:

           Signature:

          Name of Signatory (if different than Claimant):        ille(0.0, i2;-c,(4.0-70001°
          If by Authorized Agent, Title of Agent:           Ci                   41-0
           Street Address:                                  1 2— 01 A),              r         Ac.t, 5k l SD
          City, State, and Zip Code:                        la- 1( a-51 TX Z 520
          Telephone Number:                                  2IY5y            2 7 OD
          E-mail Address:                                   6 1-2( (.14.         e         r   •   a wl
          Date Completed:                                   bc.k, 3i 26(7

 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION          R EC
                                                                    E            VED
      In re:                                       Chapter 11

      ASCENT GROUP, LLC                            Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn

                           Debtor.


                        CLASS 2 GENERAL UNSECURED CLAIMS
                       BALLOT FOR ACCEPTING OR REJECTING
               CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC




                                        !See next pagel




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 No person has been authorized to give any information or advice, or to make any representation,
 other than what is included in the Disclosure Statement and other materials accompanying this
 Ballot.8

 PLEASE NOTE THAT, EVEN IF YOU INTEND TO VOTE TO REJECT THE PLAN, YOU MUST STILL
 READ, COMPLETE, AND EXECUTE THIS ENTIRE BALLOT.


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                                    Chapter 11

      ASCENT GROUP, LLC                                         Case No.: 16-34436
      d/b/a Physicians ER Oak Lawn

                           Debtor.

                    BALLOT FOR VOTING TO ACCEPT OR REJECT
              CHAPTER 11 PLAN OF LIQUIDATION FOR ASCENT GROUP, LLC

                               CLASS 2 GENERAL UNSECURED CLAIMS

 Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the "Debtor"), the debtor and debtor in
 possession in the above-captioned chapter 11 case (the "Chapter 11 Case"), has filed its First
 Amended Joint Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak
 Lawn (the "Plan") with the Bankruptcy Court. This Ballot has been provided to you for your use
 in voting on the Plan.
 In relation to your vote, on August 28, 2017, the United States Bankruptcy Court for the
 Northern District of Texas (the "Bankruptcy Court") entered an order (the "Disclosure
 Statement Order") approving the Disclosure Statement in Support of the First Amended Joint
 Chapter 11 Plan of Liquidation for Ascent Group, LLC d/b/a Physicians ER Oak Lawn (the
 "Disclosure Statement"). The Disclosure Statement provides information to assist you in
 deciding how to vote your Ballot. A copy of the Disclosure Statement has been provided to you
 along with this Ballot. If you do not have a copy of the Disclosure Statement, you may obtain a
 copy from counsel for the Debtor: Gardere Wynne Sewell LLP, Attn: Matthew J. Pyeatt, 2021
 McKinney Ave., Suite 1600, Dallas, Texas 75201, mueat-t@gardere.com. Please note that the
 Bankruptcy Court's approval of the Disclosure Statement does not constitute the Bankruptcy
 Court's approval or disapproval of the Plan.




 8 All capitalized terms used but not defined herein or in the enclosed voting instructions have the meanings ascribed
 to them in the Plan, attached as Exhibit A to the Disclosure Statement.

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                                         IMPORTANT

  You should review the Disclosure Statement and the Plan before you submit this Ballot.
  You may wish to seek legal advice concerning the Plan and the classification and
  treatment of your Class 2 — General Unsecured Claim under the Plan.

  General Unsecured Claims against the Debtor have been placed in Class 2 under the
  Plan. If you hold Claims in more than one Class under the Plan, you may receive a Ballot
  for each such other Class and must complete a separate Ballot for each such Class.

      BALLOTING DEADLINE: OCTOBER 3, 2017, AT 5:00 P.M. (PREVAILING CENTRAL TIME)
                           (THE "BALLOTING DEADLINE").
  For your vote to be counted, this Ballot must be properly completed, signed, and
  returned so that it is actually received by Debtor's counsel no later than the Balloting
  Deadline, unless such time is extended in writing by the Debtor. Please mail or deliver
  your Ballot to:

                                 Gardere Wynne Sewell LLP
                               2021 McKinney Ave., Suite 1600
                                    Dallas, Texas 75201
                                  Attn: Matthew J. Pyeatt

 BALLOTS WILL NOT BE ACCEPTED BY TELECOPY, FACSIMILE, E-MAIL, OR OTHER
 ELECTRONIC MEANS OF TRANSMISSION.

 If your Ballot is not received by Debtor's counsel on or before the Balloting Deadline and
 such Balloting Deadline is not extended as noted above, your vote will not be counted.

 Sections 14.2 and 14.5 of the Plan contain release provisions, including third-party
 releases (the "Releases"). If the Plan is confirmed by the Bankruptcy Court, the Plan,
 including these provisions will (with limited exception) be binding on all holders of a
 Claim against or Interest in the Debtor, regardless of whether the Claim or Interest of
 such holder is Impaired under the Plan and whether such holder has accepted the Plan,
 unless the holder of such Claim or Interest opts out of the Releases in accordance with
 the instructions on this Ballot.

 Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed.
 The Debtor reserves all rights to dispute such Claim(s).




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    How TO VOTE (AS MORE FULLY SET FORTH IN THE ATTACHED VOTING INSTRUCTIONS):

 1. COMPLETE ITEM 1.
  2.    COMPLETE ITEM 2.
  3.    REVIEW THE RELEASES SET FORTH IN ITEM 3 AND, IF APPLICABLE, ELECT
        WHETHER TO OPT OUT OF THE RELEASES.
  4.    REVIEW THE CERTIFICATIONS CONTAINED IN ITEM 4 AND ITEM 5 AND
        COMPLETE ITEM 5.
  5.    SIGN THE BALLOT.
  6.    RETURN THE ORIGINAL SIGNED BALLOT IN THE ENCLOSED PRE-ADDRESSED
        POSTAGE-PAID ENVELOPE, BY HAND DELIVERY OR BY OVERNIGHT COURIER
        SO THAT IT IS ACTUALLY RECEIVED BY THE SOLICITATION AND
        TABULATION AGENT BEFORE THE BALLOTING DEADLINE.
  7.    YOU MUST VOTE THE FULL AMOUNT OF THE CLAIM COVERED BY THIS
        BALLOT EITHER TO ACCEPT OR TO REJECT THE PLAN. YOU MAY NOT SPLIT
        YOUR VOTE. ANY EXECUTED BALLOT RECEIVED THAT PARTIALLY ACCEPTS
        AND PARTIALLY REJECTS THE PLAN WILL NOT BE COUNTED.
  8.    ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT INDICATE EITHER
        AN ACCEPTANCE OR REJECTION OF THE PLAN OR (B) INDICATES BOTH AN
        ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
  9.    ANY EXECUTED BALLOT RECEIVED THAT IS ILLEGIBLE OR INCOMPLETE
        WILL NOT BE COUNTED




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                               INSTRUCTIONS FOR COMPLETING THE BALLOT
                  FOR HOLDERS OF CLAIMS IN CLASS 2 — GENERAL UNSECURED CLAIMS

 1.        This Ballot is submitted to you to solicit your vote to accept or reject the Plan.
           PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT CAREFULLY BEFORE
           COMPLETING THIS BALLOT.

 2.        The Plan will be accepted by Class 2 if it is accepted by the holders of two-thirds in
           amount and more than one-half in number of Claims in Class 2 that actually vote on the
           Plan. In the event that Class 2 rejects the Plan, the Bankruptcy Court may nevertheless
           confirm the Plan and thereby make it binding on you if the Bankruptcy Court finds that
           the Plan (a) does not unfairly discriminate against and accords fair and equitable
           treatment to the holders of Claims in Class 2 and all other Classes of Claims or Interests
           rejecting the Plan and (b) otherwise satisfies the requirements of section 1129(b) of the
           Bankruptcy Code. If the Plan is confirmed by the Bankruptcy Court, all holders of
           Claims against and Interests in the Debtor (including those holders who abstain from
           voting or reject the Plan, and those holders who are not entitled to vote on the Plan) will
           be bound by the confirmed Plan and the transactions contemplated thereby.

 3.        Complete, sign, and return this Ballot to the Debtor's counsel so that it is actually
           received by the Debtor's counsel by no later than October 3, 2017, at 5:00 p.m.
           (prevailing Central Time), the Balloting Deadline, unless such time is extended in
           writing by the Debtor. Ballots must be delivered either by first class mail with the
           enclosed envelope, by overnight courier, or by hand delivery to the Solicitation and
           Tabulation Agent at the following address:

                                       Gardere Wynne Sewell LLP
                                     2021 McKinney Ave., Suite 1600
                                          Dallas, Texas 75201
                                        Attn: Matthew J. Pyeatt

      Ballots will not be accepted by telecopy, facsimile, e-mail, or other electronic means of
                                            transmission.

 4.        To properly complete the Ballot, you must follow the procedures described below:

           a.        if you hold a Claim in Class 2, cast one vote to accept or reject the Plan by
                     checking the appropriate box in Item 2;
           b.        if you vote to reject the Plan and choose to opt out of the releases contained in
                     Sections 14.2 and 14.5 of the Plan, check the box in Item 3;
           c.        if you are completing this Ballot on behalf of another person or entity, indicate
                     your relationship with such person or entity and the capacity in which you are
                     signing and submit satisfactory evidence of your authority to so act (e.g., a power
                     of attorney or a certified copy of board resolutions authorizing you to so act);
           d.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                     different Class of Claims and you should separately complete and submit a Ballot

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                    for each Class of Claims in which you hold Claims. Your vote will be counted in
                    determining acceptance or rejection of the Plan by each particular Class of Claims
                    only if you complete, sign, and return the Ballot labeled for that Class of Claims
                    in accordance with the instructions on such Ballot;
          e.        if you believe that you have received the wrong Ballot, please contact the
                    Debtor's counsel immediately;
          f.        provide your name and mailing address on your Ballot;
          g.        sign and date your Ballot and provide the remaining information requested; and
          h.        return your Ballot using the enclosed pre-addressed return envelope, by hand
                    delivery, or by overnight courier.

 IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
 RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE A COPY OF THE
 DISCLOSURE STATEMENT OR PLAN, OR NEED ADDITIONAL COPIES OF THE
 BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE DEBTOR'S
 COUNSEL: GARDERE WYNNE SEWELL LLP, ATTN: MATTHEW J. PYEATT, 2021
 MCKINNEY AVE., SUITE 1600, DALLAS, TEXAS 75201, MPYEATT@GARDERE.COM.
 PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

 PLEASE COMPLETE THE FOLLOWING:

 Item 1. Amount of Class 2 General Unsecured Claims. The undersigned hereby certifies that,
 as of the Record Date, the undersigned was the holder (or authorized signatory of such holder) of
 a Class 2 Claim in the aggregate amount provided below.


                                        Amount of Class 2 Claim:

                                        $   2_91g 2(,3b




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 Item 2. Vote on the Plan. The undersigned holder of a Class 2 Claim in the amount identified
                            in Item 1 above hereby votes to:
 Check one box:                                        ❑ to Accept the Plan.
                                                            OR
                                                       Rr to Reject the Plan.
 Item 3. Important Information regarding Releases.

 Section 14.2 of the Plan contains the following Release provisions:
 14.2.     Satisfaction of Claims
          (a)       The rights afforded in the Plan and the treatment of all Claims and Interests herein shall be in
 exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any nature
 whatsoever against the Debtor and its Estate, Assets, properties, or interests in property. Except as otherwise
 provided herein, on the Effective Date, all Claims against and Interests in the Debtor shall be satisfied, discharged,
 and released in full. Except as otherwise provided herein, all Persons shall be precluded and forever barred from
 asserting against Debtor and its Affiliates, successor or assign, or its Estate, Assets, properties, or interests in
 property any event, occurrence, condition, thing, or other or further Claims or Causes of Action based on any act,
 omission, transaction, or other activity of any kind or nature that occurred or came into existence prior to the
 Effective Date, whether or not the facts of or legal bases therefore were known or existed prior to the Effective Date.
 For the avoidance of doubt, the foregoing provision, shall not affect in any way the Debtor's and/or Estate's Claims
 and Causes of Action against the Endeavor Entities, which are expressly preserved by the Plan. The foregoing
 provision shall not preclude the parties to the State Court Lawsuit from: (i) asserting, joining, raising, or not
 asserting, joining, or raising any claims and/or causes of action (whether presently known or unknown) related to or
 arising from any facts or issues arising from or related to the State Court Lawsuit, (ii) joining or not joining
 additional parties to that action, and/or (iii) prosecuting or defending the State Court Lawsuit.
 Section 14.5 of the Plan contains the following Release provisions:
 14.5      Release by a Holder of a Claim

           (a)       As of the Effective Date, except for the rights that remain in effect from and after the Effective
 Date to enforce this Plan, the Confirmation Order, and the Plan Documents, for good and valuable consideration,
 including the contributions of money and service of the Released Parties to the Debtor's Case, the adequacy of
 which is hereby confirmed, and except as otherwise expressly provided in the Plan or the Confirmation Order, as an
 integral component of this Plan, the Released Parties are deemed forever released and discharged by the Releasing
 Parties from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
 losses, and liabilities whatsoever, including any derivative claims asserted or assertable on behalf of the Debtor or
 the Estate, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such holders or their
 affiliates would have been legally entitled to assert in their own right (whether individually or collectively) or on
 behalf of the holder of any Claim or Interest or other entity, based on or related to. or in any manner arising from, in
 whole or in part. the Debtor, the Case, the subject matter of or the transactions or events giving rise or related to, any
 Claim or Interest that is treated in this Plan, the business or contractual arrangements between the Debtor and any
 Released Party or between a Released Party and any Releasing Party, the Chapter 11 Case. the Disclosure
 Statement, this Plan, the Plan Documents, and the negotiation, formulation, or preparation thereof or the terms
 therein, the solicitation of votes with respect to this Plan, the implementation of this Plan, or any act or omission,
 other than Claims or Causes of Action arising out of or related to any act or omission of a Released Party that is a
 criminal act, willful misconduct, or gross negligence.




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 AS A HOLDER OF A CLAIM OR INTEREST UNDER THE PLAN, YOU ARE DEEMED TO
 PROVIDE THE RELEASE CONTAINED IN SECTIONS 14.2 AND 14.5 OF THE PLAN, AS
 SET FORTH ABOVE, UNLESS YOU CHECK THE BOX BELOW TO OPT OUT OF THIS
 RELEASE.
 The undersigned holder of the Class 2 Claim set forth in Item 1 elects to:

                           ef Opt Out of the Release in Sections 12.4 of the Plan

 Item 4. Certification as to Class 2 — General Unsecured Claims. The undersigned hereby
 certifies that either (i) it has not submitted any other Ballots for other Class 2 Claims held in
 other accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held
 in other accounts or other record names, then such Ballots indicate the same vote to accept or
 reject the Plan.

 Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned
 acknowledges that: (i) it has been provided with a copy of the Disclosure Statement, including all
 exhibits thereto; (ii) the Debtor's solicitation of votes is subject to all terms and conditions set
 forth in the Disclosure Statement, the order of the Bankruptcy Court approving the Disclosure
 Statement, and the procedures for the solicitation of votes to accept or reject the Plan contained
 therein; (iii) it is the holder of the Claim identified in Item 1 above as of the Record Date; and
 (iv) it has full power and authority to vote to accept or reject the Plan and exercise elections with
 respect thereto.

           Print or Type Name of Claimant:                  1As5e-I.-                               A gocvia-ksi 1..`C

           Last Four (4) Digits of Social Security            --   (4 SI
           or Federal Tax I.D. No. of Claimant:

           Signature:

           Name of Signatory (if different than Claimant): LY I (; 0,-1 12.;-c, pyto

           If by Authorized Agent, Title of Agent:                  C                 A-1-0 rv.ey

           Street Address:                                          120               ah)c-r".4
                                                                                          -Pro            v    c:4-c. ISO

           City, State, and Zip Code:                                   Ala 5 I 17(      75 2 D 7

           Telephone Number:                                         ?_.-(ci 5 5q2740

           E-mail Address:                                               i(Invt.io.tOk   e      r-R rpvi -cowl

           Date Completed:                                         bc,4- •       2,o ► 7




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 This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim
 or Interest, or the allowance of a Claim or Interest.




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